                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


BURTON KRAUS,
individually and on behalf of all others similarly
situated,                                                Case No: 2:20-cv-06085-SJF-ST

               Plaintiff,

v.

SNOW TEETH WHITENING LLC d/b/a SNOW,
FORESOLD LLC d/b/a FORESOLD, and JOSHUA
ELIZETXE

              Defendants.




               MEMORANDUM OF LAW IN SUPPORT OF
 DEFENDANTS’ MOTION TO DISMISS COMPLAINT PURSUANT TO RULE 12(B)(1)




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       Defendants Snow Teeth Whitening LLC (“Snow”), Foresold LLC, and Joshua Elizetxe

(“Defendants”) respectfully submit this Memorandum in support of their Motion to Dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(1).

                                        INTRODUCTION

       This case should be dismissed for lack of Article III standing. A party cannot invoke the

limited jurisdiction of the federal courts unless he or she has suffered an injury in fact that was

caused by the defendant. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021). Plaintiff

and his attorneys are not a regulator or a state agency that can sue over any supposedly false

advertising they come across; rather Plaintiff is an individual consumer who alleges that he

purchased Defendants’ product in the ordinary course and in doing so suffered some supposed

harm. But to bring a false advertising claim, he must prove that whatever injury he claims to

have suffered was actually caused by the advertising in question. Plaintiff cannot do so.

       Defendant Snow makes a variety of teeth-whitening products that have been lauded by

consumers in thousands of positive reviews. Plaintiff and his lawyer are long-time friends and

former neighbors. Plaintiff purchased the product in question only after his lawyers had drafted

the complaint and only after his lawyers had demanded millions of dollars from Snow. When

Snow rejected that baseless demand, Plaintiff purchased the product and agreed to be the face of

the lawsuit, adopting his attorneys’ already-drafted allegations as his own. But at his deposition,

Plaintiff admitted that he never saw any of the advertising identified in his complaint, and his

testimony shows that many of his other allegations are simply untrue. This is not a case in which

an aggrieved party who was actually harmed approached and retained lawyers to vindicate that

injury. Rather it is a lawsuit engineered by the lawyers themselves in an effort to extract a
payment from the company. Article III precludes misusing the federal courts in this manner.

Plaintiff lacks standing, and this action should be dismissed.

       To have standing Plaintiff must have suffered an actual injury that was caused by

Defendants. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992); W.R. Huff Asset

Mgmt. v. Deloitte & Touche LLP, 549 F.3d 100, 106-07 (2d Cir. 2008). Because the evidence

indicates that he bought the product at the behest of his lawyers, Plaintiff cannot show that he

suffered any injury caused by Defendants. Moreover, at his deposition, Plaintiff admitted that he

never saw any of the advertisements identified in his own pleading. Nobody can be hurt by

advertising they never saw, much less relied on. See Brady v. Basic Rsch., L.L.C., 101 F. Supp.

3d 217, 229 (E.D.N.Y. 2015) (plaintiff had no standing where she could not have seen the

representations in question prior to her purchase); see also Bibicheff v. PayPal, Inc., , 2020 WL

2113373, *4 (E.D.N.Y. May 4, 2020), aff’d, 844 F. App’x 394 (2d Cir. 2021) (“If the plaintiff

did not see any of these statements, they could not have been the cause of [her] injury, there

being no connection between the deceptive act and the plaintiff’s injury.”).

       Separately, Plaintiff cannot show that he intends to purchase Snow’s product in the

future, such that he cannot ask this Court for prospective relief. To establish standing to obtain

such prospective relief, a plaintiff “must show a likelihood that he will be injured in the future,”

which he cannot do. See Lugones v. Pete & Gerry’s Organic, LLC, 440 F. Supp. 3d 226, 238

(S.D.N.Y. 2020).

       Finally, Plaintiff cannot amend his pleading to cure his lack of standing. Standing goes

to the subject-matter jurisdiction of the Court, and without standing in the first instance, the

Court lacks jurisdiction to allow amendment. Pressroom Unions–Printers League Income Sec.

Fund v. Continental Assur. Co., 700 F.2d 889, 893 (2d Cir. 1983).




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        Accordingly, the Court should dismiss this lawsuit with prejudice under Rule 12(b)(1) for

lack of subject matter jurisdiction.

                                          BACKGROUND

        A.      The Parties

        Snow is a start-up company that designs, produces, and sells teeth-whitening and other

cosmetic and oral-health products. Snow’s flagship product, a whitening system that

incorporates an LED light in a mouthpiece, has been shown to be both effective and easy to use.

Snow’s sales and consumer base have grown quickly, with the reviews and testimonials on

Snow’s website revealing thousands of satisfied customers. Those reviews give an average

product rating of 4.9 out of 5 stars, a satisfaction level that is also reflected in the reviews of

Snow customers from third-party retailers including Target, (4.8 stars), Amazon (4.4 stars), and

Best Buy (4.4 stars). (See Docket Entry (“DE”) 20 at Ex. 1 for customer testimonials).

        Plaintiff Burton Kraus is a decades-long friend and former neighbor of one of his

lawyers. (Declaration of Douglas S. Curran (“Curran Decl.”), Ex. 1 (Kraus Dep. Tr.) 37:20-

40:2). On April 8, 2020—more than three months before Plaintiff purchased the product in

question—Plaintiff’s lawyers sent Snow a demand letter complaining about Snow’s teeth-

whitening product. (Curran Decl., Ex. 2). The lawyers also included a draft complaint that

directly tracks the complaint Plaintiff would later file in this action, and they threatened to file

suit if Snow would not engage in a private settlement with them. The lawyers later asserted that

such an off-the-record settlement would have required Snow to pay them $2.5 million, with no

indication of how any of those funds would benefit any supposed class. When Snow rejected

that offer, the lawyers decided to pursue their manufactured suit. Plaintiff purchased the product

in question from Snow’s website in July 2020, he adopted the allegations in his lawyers’ already-




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drafted complaint as his own, and he filed this lawsuit as the named class representative,

claiming to this Court that he had been injured and was entitled to millions of dollars in damages.

       B.      Plaintiff’s Complaint

       The complaint was filed on December 14, 2020. It was virtually identical to the draft

complaint sent to Snow in April 2020. (Compare DE 1 with Curran Decl. Ex. 2). The complaint

identified a handful of advertisements and purportedly false statements, none of which Plaintiff

alleged to have ever seen. (DE 1). It also named Snow’s celebrity endorsers—NFL star Rob

Gronkowski and champion boxer Floyd Mayweather—as defendants on the sole basis that they

had appeared in advertisements for Snow’s products. (Id.).

       Messrs. Gronkowski and Mayweather moved to dismiss on March 12, 2020 (DE 21), on

the grounds that Plaintiff failed to plead any claim against them—largely because they had

nothing at all to do with the supposedly false statements that allegedly gave rise to Plaintiff’s

injury. Less than two weeks after that motion, and following a conference with Judge Feuerstein

(DE 22) at which she informed Plaintiff’s attorneys that they would be sanctioned if they

pursued any baseless claims, Plaintiff dropped these individuals from the suit and filed his First

Amended Complaint (“FAC”) (DE 23). The FAC contains largely the same allegations as the

original complaint, minus the claims against Messrs. Gronkowski and Mayweather, and fails to

make any further allegations about what Plaintiff actually saw before he purchased Snow’s

product. The lone factual allegation regarding Plaintiff’s alleged purchase states that Plaintiff

purchased Snow’s product “on July 28, 2020 from trysnow.com for $150.” (FAC ¶ 51). None of

the allegations in the complaint identify what, if any, statements he saw, what prompted his

alleged purchase, or what his supposed injury was.




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                 C.       Plaintiff’s Deposition

                 Plaintiff was deposed on August 4, 2021. Over the course of his deposition, he admitted

         that none of the advertising alleged in the FAC actually caused him to purchase the product. He

         testified that he did not recall seeing—let alone being injured by—any ads, much less those

         identified in his pleading. For example, when asked if he had “a recollection of having relied on

         [one of the principal advertisements included in the complaint] as part of the reason that [he]

         purchased [Snow’s] product,” Plaintiff responded, “I’m not sure if I have ever seen this

         particular ad, so I don’t know how I could have relied on the ad that I’m not sure if I ever saw.”

         (Kraus Dep. Tr. at 136:10-18). Plaintiff likewise disclaimed seeing each of the other specific ads

         and statements identified in the complaint, as discussed in further detail below. (Infra at [9-15]).

         Among other admissions, Plaintiff gave the following testimony in response to the following

         questions:

 Am.
Compl.                                    Question                                                          Answer
  ¶
                                                                                    A. I don’t remember if I’ve seen that particular
 ¶4      Q. You’ve never seen this ad on Instagram before, have you?
                                                                                    smiley face. (Tr. 134:15-18)
                                                                                    A. I thought I just explained that I’m not sure if I
                                                                                    have ever seen this particular ad, so I don’t know
         Q. Mr. Kraus, do you know if -- do you have a recollection of having
 ¶4                                                                                 how I could have relied on the ad that I’m not sure
         relied on this ad as part of the reason that you purchased your product?
                                                                                    if I ever saw. I don’t know, this is head spinning
                                                                                    man. (Tr. 136:10-18)
                                                                                    A. I didn’t recall seeing that in their advertisement,
                                                                                    I don’t remember. I might have read it at the time. I
         Q. So nothing about the number of countries had anything to do with your
 ¶8                                                                                 don’t recall seeing it or registering it or giving you
         decision?
                                                                                    a good answer now in regard to the 200 countries.
                                                                                    (Tr. 137:21-138:5)
         Q. Did you -- did the assertion that Snow has over 1 million monthly
 ¶ 32                                                                               A. No. (Tr. 151:6-10)
         shoppers play any role in your decision to purchase the product?
         Q. . . . As you sit here right now, do you remember ever having seen any
                                                                                    A. I don’t recall if I saw that or not. (Tr. 151:23-
 ¶ 33    reference to 500,000 happy customers and 16,000 5-star reviews prior to
                                                                                    152:5)
         buying your product?
         Q. As you sit here right now do you remember any such claim about No. 1
                                                                                    A. I said I don’t recall the exact No. 1 rated claim.
 ¶ 35    rated teeth whitening kit in the world having any influence on your
                                                                                    (Tr. 153:11-15, 153:23-24)
         decision to purchase the product?




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 Am.
Compl.                                    Question                                                              Answer
  ¶
         Q. So you don’t remember, one way or the other, whether you saw this
                                                                                        A. I don’t recall specifically or remember seeing
 ¶ 35    claim or it had anything to do with your decision to purchase the product,
                                                                                        that claim. (Tr. 153:25-154:6)
         is that right?
         Q. Mr. Kraus, do you have any recollection as you sit here today, whether
                                                                                        A. I don’t remember if I saw that specifically. (Tr.
 ¶ 36    you saw any claim, in advance of you purchasing the product, about
                                                                                        154:23-155:5)
         whether Snow was placed in 1,500 luxury spas in China?
         Q. You don’t remember whether you relied on that or credited that claim
 ¶ 36                                                                                   A. Right. (Tr. 155:6-10)
         in making the decision to purchase the product, right?
                                                                                        A. I don’t recall seeing -- no, I don’t remember.
 ¶ 44    Q. Have you ever seen this video to your recollection, if it is a video?
                                                                                        (Tr. 156:13-16)
         Q. You don’t have any recollection of seeing this photo prior to making        A. I don’t remember if I saw that specific photo.
 ¶ 48
         your decision to purchase the product, right?                                  (Tr. 158:19-23)
         Q. Do you remember seeing any article in January 2019 issue of Oprah
 ¶ 52                                                                                   A. No. (Tr. 160:9-12)
         Magazine that had anything to do with Snow?
         Q. Did you ever hear of a website called truth in advertising . . . [d]o you   A. I know the phrase, truth in advertising, but not
 ¶ 55
         know anything about a website called Truth in Advertising.org?                 the website you are referencing, no. (Tr. 161:7-14)
         Q. Do you have any recollection of ever having watched Home Shopping
 ¶ 67                                                                                   A. I don’t watch it, no, sir. (Tr. 161:3-6)
         Network at any point in the last three years?

                 Plaintiff also testified that after using the product for “three weeks,” he was dissatisfied

         with the whitening results, stopped using it, and immediately told his friend (now lawyer)—who

         by that point had already sent a draft of the complaint and settlement demand to Snow. (Kraus

         Dep. Tr. at 35:18-37:22).

                 D.        Pre-Motion Conference

                 On August 18, 2021, Defendants filed a pre-motion letter with the Court highlighting

         Plaintiff’s recent deposition testimony, which revealed that he does not have Article III standing

         to pursue this lawsuit requiring dismissal under Rule 12(b)(1). (DE 43). Plaintiff filed his

         response on August 25, 2021. (DE 45). Following a pre-motion conference on October 19,

         2021, the Court authorized Defendants’ filing of this motion to dismiss. (DE 50).

                                                           ARGUMENT

                 A “case is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1)

         when the district court lacks the statutory or constitutional power to adjudicate it.” Makarova v.




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United States, 201 F.3d 110, 113 (2d Cir. 2000); see also Morrison v. Nat’l Austl. Bank Ltd., 547

F.3d 167, 170 (2d Cir. 2008). Where jurisdictional facts are placed in dispute, “the court has the

power and obligation to decide issues of fact by reference to evidence outside the pleadings, such

as affidavits,” in which case “the party asserting subject matter jurisdiction has the burden of

proving by a preponderance of the evidence that it exists.” Tandon v. Captain’s Cove Marina of

Bridgeport, Inc., 752 F.3d 239, 243 (2d Cir. 2014); see also Makarova, 201 F.3d at 113 (“In

resolving a motion to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1), a

district court ... may refer to evidence outside the pleadings.”).

I.     PLAINTIFF LACKS ARTICLE III STANDING

       Article III “standing is not dispensed in gross; rather, plaintiffs must demonstrate

standing for each claim that they press and for each form of relief that they seek.” TransUnion,

141 S. Ct. at 2208. To establish standing, a plaintiff must prove: (1) an injury-in-fact that is

concrete and particularized, as well as actual or imminent; (2) a causal connection between the

injury and conduct complained of such that the injury is fairly traceable to the challenged action

of the defendant; and (3) that the injury is likely to be redressed by a favorable ruling from the

court. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

       Here, Plaintiff lacks standing for at least three reasons. First, he bought the product after

his counsel sent a demand letter to Defendants in order to manufacture standing to bring suit, not

because he was misled. Second, at his deposition Plaintiff admitted that he did not see, much

less rely on, any of the misrepresentations at issue. Third, Plaintiff cannot show any likelihood

of future harm entitling him to injunctive relief, and thus lacks standing to seek an injunction.




                                                  7
       A.      Where a Plaintiff Buys a Product for Purposes of Bringing Suit, He Has Not
               Suffered a Cognizable Injury

       Plaintiffs’ purchase of Snow’s product was plainly for the purpose of manufacturing

standing to bring this suit. Such “self-inflicted injury” is insufficient to establish standing. Taylor

v. Bernanke, No. 13-CV-1013, 2013 WL 4811222, *10 n.5 (E.D.N.Y. Sept. 9, 2013) (“Self-

inflicted injury that results from a plaintiff’s personal choices rather than a defendant’s conduct

will not confer standing.”); see also Union Cosm. Castle, Inc. v. Amorepacific Cosms. USA, Inc.,

454 F. Supp. 2d 62, 71 (E.D.N.Y. 2006) (A “plaintiff cannot establish Article III standing to

pursue a cause of action where that plaintiff is the primary cause of its own alleged injury.”);

Buckland v. Threshold Enterprises, Ltd., 155 Cal. App. 4th 798, 816, 66 Cal. Rptr. 3d 543, 555–

56 (2007) (disapproved on other grounds by Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310

(2011)) (“Here, Buckland purchased the product to establish standing for litigation against

Threshold. … Because the costs were incurred solely to facilitate her litigation, her purchase

does not constitute the requisite injury in fact”). Here, Plaintiff’s lawyers sent Snow a demand

letter and draft complaint threatening to file suit unless Snow paid them millions of dollars. (Ex.

2). When Snow rejected Plaintiff’s lawyers’ demand, Plaintiff (who had been friends with his

lawyer for decades), purchased the product—evidently at the behest of his lawyers for purposes

of filing this lawsuit—making claims about ads and purportedly false statements that Plaintiff

had never seen. Such a scheme to gin up an “injury” cannot provide standing. See Almeida v.

Conforti, 2017 WL 626746, at *11 (D.N.J. Feb. 14, 2017) (finding that the plaintiff had not

merely “contributed to his own injury,” but rather, the injury was “so completely due to [his]

own fault as to break the causal chain.”); see also Parvati Corp. v. City of Oak Forest, Ill., 630

F.3d 512 (7th Cir. 2010) (injury did not suffice to supply standing where it was not fairly




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traceable to defendants’ conduct because the injury was “brought on by” plaintiff’s prior

“litigation decisions”).

       B.      Plaintiff Cannot Show that Any Advertisement in the Complaint Caused His
               Alleged Injury

       Plaintiff separately lacks standing because at his deposition, he admitted that he did not

even see any of Defendants’ advertising, much less rely on it. In false advertising cases, the only

way a plaintiff can show that he was injured as a result of the defendant’s representations is to

prove that he saw and relied on the statements at issue. See, e.g., Brady v. Basic Rsch., L.L.C.,

101 F. Supp. 3d 217, 229 (E.D.N.Y. 2015) (dismissing claims under 12(b)(1) for lack of standing

where purchaser of “fat-burning” product could not “plausibly allege an injury traceable to” a

spokesperson for the product because she bought the product before the representations in

question had been made and therefore could not have relied on them in making her purchase).

       Plaintiff argues that because “reliance” is not an element of his claim under the New

York General Business Law (“GBL”), he need not show that the allegedly misleading statements

caused his injury. (DE 45 at 2-3). This ignores Article III jurisprudence and fails for at least

three separate and independent reasons.

       First, whether a plaintiff satisfies the requirements of Article III is independent of

whether a plaintiff can meet the requirements of any statutory cause of action. TransUnion, 141

S. Ct. at 2207. TransUnion addressed claims for violation of the Fair Credit Reporting Act,

which can provide statutory damages to individuals who are given inaccurate credit ratings.

Plaintiff brought a class action on behalf of himself and others who had been misclassified as

posing a threat to national security. The Supreme Court held that people whose credit reports

had not been given to third parties had no standing, even though TransUnion had violated its

statutory duty to classify them accurately because “under Article III and this Court’s precedents,




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Congress may not authorize plaintiffs who have not suffered concrete harms to sue in federal

court simply to enforce general compliance with regulatory law.” Id.

       Similarly here, if Congress cannot create an injury, neither can the New York legislature.

Regardless of the elements of the GBL (which Plaintiff also does not satisfy), Plaintiff lacks

standing because he cannot prove a constitutionally cognizable injury that was caused by

Defendants. In the context of a false advertising claim, plaintiffs who have not relied on any

supposedly false representation cannot have suffered any constitutionally cognizable harm. Such

individuals, who are simply complaining about an advertisement that had no effect on them, are

no different than the plaintiffs in TransUnion, who claimed that the defendant committed a

regulatory violation that did not hurt them. See Brady, 101 F. Supp. 3d at 229.

       Specifically, Plaintiff here claims that he was willing to pay a price premium based on

Defendants’ supposedly inaccurate statements about the benefits of their product. (FAC ¶¶ 72,

90; see also Curran Decl., Ex. 3 (Plaintiff’s Responses to Defendants’ RFPs) at 7-8 ([“Plaintiff

does not claim that Defendants’ products do not whiten teeth, merely that Defendants’ LED light

produces no added material benefit.”]). But without relying on any of the statements about the

benefits of the product, Plaintiff could not have been willing to pay more as a result of those

statements. To the contrary, he was willing to pay the exact price he paid irrespective of

anything Defendants did. As such, he cannot establish Article III standing.

       Second, without having seen the representations at issue, Plaintiff cannot prove

causation, the second requirement of Article III standing.1 Plaintiff has now admitted under oath



1
 Courts have similarly held that GBL §§ 349 and 350 require proof of causation. City of New
York v. Smokes-Spirits.com, Inc., 12 N.Y.3d 616, 623 (2009); Rivera v. Navient Solutions, LLC,
2020 WL 4895698, at *7 (S.D.N.Y. Aug. 19, 2020) (“Although a private plaintiff need not plead
or allege reliance under Section 349, she is required to show that the material deceptive act
caused the injury.”) (internal citations omitted); Orlander v. Staples, 802 F.3d 289, 300 (2d Cir.


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that he never saw, much less relied on, any supposed misrepresentation asserted in the FAC. In

particular, (1) he has never seen any of the photos or videos featured in the FAC, (2) he has

never seen any of the specific statements the FAC alleges Defendants made, and (3) he has never

reviewed any of the mediums in which certain alleged misrepresentations supposedly appeared.

                 1.    Plaintiff Never Saw, Much Less Relied on, Any Ads Depicted in the
                       Complaint

       The FAC features four pictures of ads which it alleges contain or contribute to alleged

misrepresentations. The FAC does not allege that

Plaintiff saw any of these ads, and Plaintiff

admitted in his deposition that he never did.

       First, Plaintiff was asked whether he had

seen the Instagram advertisement on the right,

which is prominently featured on the second page

of the complaint. (Compl. ¶ 4). Plaintiff responded

that he did not remember ever seeing this

advertisement:



2015) (to state claim under GBL §§ 349 or 350, plaintiff must allege materially misleading
conduct that caused plaintiff injury); Stutman v. Chemical Bank, 95 N.Y.2d 24, 29 (2000) (“A
plaintiff under section 349 must prove three elements: first, that the challenged act or practice
was consumer-oriented; second, that it was misleading in a material way; and third, that the
plaintiff suffered injury as a result of the deceptive act.”) (emphasis added). Where a plaintiff’s
alleged injury is not directly caused by the defendant’s allegedly misleading statements, the
Court of Appeals has repeatedly held that the plaintiff cannot bring a claim under Section 349.
Smokes-Spirits.Com, 12 N.Y.3d at 621-23 (plaintiff that did not allege injury directly caused by
defendants’ statements lacked standing); Blue Cross & Blue Shield of New Jersey, Inc. v. Philip
Morris USA Inc., 3 N.Y.3d 200, 205-06 (2004) (same). To allege causation under the GBL, “a
plaintiff must state in his complaint that he has seen the misleading statements of which he
complains before he came into possession of the products he purchased.” Goldemberg v.
Johnson & Johnson Consumer Cos., 8 F. Supp. 3d 467, 480 (S.D.N.Y. 2014) (emphasis added).
Thus, Plaintiff’s claim also fails to satisfy the GBL.


                                                 11
               Q. Have you ever seen this image before?

               A. I don’t remember specifically.

               Q. You’ve never seen this ad on Instagram before, have you?

               A. I don’t remember if I’ve seen that particular smiley face.

               …

               Q. Mr. Kraus, do you know if -- do you have a recollection of
               having relied on this ad as part of the reason that you purchased
               your product?

               A. I thought I just explained that I’m not sure if I have ever seen
               this particular ad, so I don’t know how I could have relied on the
               ad that I’m not sure if I ever saw…

(Kraus Dep. Tr. at 134:6-14; 136:10-18 (emphasis added)).

       Second, Plaintiff was also shown two other images from the complaint featuring Mr.

Gronkowski (Compl. ¶¶ 44-45). Plaintiff testified that he had no recollection of seeing the first

image (depicting a video) prior to purchasing Snow’s product:

               Q. Do I have it right, that this is a screen shot of a video that Mr.
               Gronkowski appeared in?

               A. I’m not sure. It looks like a screen shot of a video or something.

               Q. Have you ever seen this video, to your recollection, if it is a
               video?

               A. I don’t recall seeing -- no, I don’t remember.

(Kraus Dep. Tr. 156:8-16). The second image showed a screenshot of Snow’s website (Compl.

¶ 45), and Plaintiff admitted he never browsed Snow’s website, and therefore would not have

seen this image, but merely went straight to the product page and purchased the product:

               Q….When you went to [Snow’s] website, did you see any
               customer testimonials about the product working?

               A. Once I decided to buy the product, I went on the website and
               just went through whatever I had to go through, the steps to
               purchase the product. I already had decided to give it a try. I mean,



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               you know how it is, you look through, do this, do that, hit this
               button, give your information, how you are paying for it, whatever.

(Kraus Dep. Tr. 55:6-16)

       Third, Plaintiff was shown the final image of Mr. Mayweather (Compl. ¶ 48), which he

likewise did not recall seeing, and at one point in the deposition also admitted that he didn’t think

he could pick out Mr. Mayweather by sight.

               Q. You don’t have any recollection of seeing this photo prior to
               making your decision to purchase the product, right?

               A. I don’t remember if I saw that specific photo.

               …

               Q. Did you know who Mr. Mayweather was prior to any
               involvement with the Snow Teeth Whitening product?

               A. I would know him by name, but not by visual, I wouldn’t see
               his face and know it’s him, but the Mayweather name, I would
               know, yes.

(Kraus Dep. Tr. 158-19-23; 168:17-23). When asked why he decided to include a photo in the

complaint that he had never seen, he responded “[t]he attorneys, relying on them to put this all

together. I did not.” (Kraus. Dep. Tr. at 158:24-159:6).

       Where, as here, a plaintiff does not allege that he saw the misleading statements prior to

purchasing the defendant’s product, he could not have been injured by the alleged statements and

therefore cannot plead causation. Id. (“Of course, if Plaintiff did not see the website and

Facebook page beforehand, he could not have been injured by them.”); see also Gale v.

International Business Machines Corp., 9 A.D.3d 446, 447 (2d Dept. 2004) (affirming dismissal

of the plaintiff’s § 349 claim for failing to plead causation with sufficient specificity, holding that

“[i]f the plaintiff did not see any of these statements, they could not have been the cause of his

injury, there being no connection between the deceptive act and the plaintiff’s injury.”); Douyon




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v. N.Y. Med. Health Care, P.C., 894 F.Supp.2d 245, 263 (E.D.N.Y. 2012), (denying plaintiff’s

motion for summary judgment on her § 349 claim where she admitted she had not seen the

defendant’s allegedly misleading statements, because if she did not see the “letters, it follows

that she could not have been injured by them”); Bibicheff v. PayPal, Inc., 844 F. App’x 394 (2d

Cir. 2021) (plaintiff’s complaint failed to allege causation “because it does not allege that she

saw PayPal’s alleged misrepresentations until after the fraudulent activity and resulting harm had

occurred”) (internal quotation omitted).

       Conceding that he did not see, much less rely on any of the four advertisements identified

in his FAC, Plaintiff attempted to salvage his claims by testifying that he saw an entirely

different advertisement on Facebook, which is not identified or ever referred to in his pleading.

Critically, in seeking to include as many elements of the advertisements that are identified in the

FAC as possible, he claimed that the advertisement he supposedly saw included both Mr.

Gronkowski and Mr. Mayweather, along with a word-salad litany of other supposed

misstatements. (Kraus Dep. Tr. 52:22-53:21; Kraus Dep. Tr. 138:18-141:10). But no such

advertisement with both of those endorsers displayed at the same time has ever existed. (See

Declaration of Kyle Harris, ¶¶ 2-3).2

       In all events, Plaintiff could not provide any details as to any actual statements by

Defendants that resulted in his purchasing of the product. (See, e.g., Kraus Dep. Tr. 45:24-47:15,

52:22-53:21). Rather he testified that it was his daughters telling him he needed to whiten his

teeth, and then seeing Mr. Gronkowski in an advertisement (i.e., not relying on any statement by




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  Plaintiff’s story regarding the elements of the ad he saw changed throughout the deposition
(see, e.g.,)), and at one point he testified that the ad included elements, such as Robert
Gronkowski and Floyd Mayweather supposedly being in the same ad together, that never existed
at the time of his purchase. (Harris Decl. ¶¶ 2-3).


                                                 14
him or anyone else) that convinced him to try the product. (Kraus. Dep. Tr. at 137:17-20) (“I

saw Gronk, kind of liked the guy, thought, hey, he is representing these guys, let’s see if I get my

teeth whiter, that’s it.”; id. at 46:2-5 (“I have two daughters that keep telling me, dad your teeth

are stained, you got to do something and that’s why I bought [the Snow teeth whitening

product].”)). So, even crediting Plaintiff’s plainly suspect deposition testimony, he

acknowledges that he did not actually rely on any statement or claim made by Defendants.

               2.       Plaintiff Never Saw, Much Less Relied on, the Other Key Alleged
                        Misrepresentations Listed in His Complaint

       Plaintiff also testified that he had no recollection of seeing various other supposedly key

statements that the complaint attributes to Defendants (Compl. ¶¶ 32-33, 35-36):

               Q. Have you ever been to the LinkedIn page that’s referenced [in
               paragraph 32 of the complaint]?

               A. I don’t believe so.

               Q. Did you -- did the assertion that Snow has over 1 million
               monthly shoppers play any role in your decision to purchase the
               product?

               A. No.

               …

               Q. . . . As you sit here right now, do you remember ever having
               seen any reference to 500,000 happy customers and 16,000 5-star
               reviews prior to buying your product?

               A. I don’t recall if I saw that or not.

               …

               Q. So you don’t remember, one way or the other, whether you saw
               this [No. 1 rated] claim or it had anything to do with your decision
               to purchase the product, is that right?

               A. I don’t recall specifically or remember seeing that claim.

               …




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               Q. Mr. Kraus, do you have any recollection, as you sit here today,
               whether you saw any claim, in advance of you purchasing the
               product, about whether Snow was placed in 1,500 luxury spas in
               China?

               A. I don’t remember if I saw that specifically.

               Q. You don’t remember whether you relied on that or credited that
               claim in making the decision to purchase the product, right?

               A. Right.

(Kraus Dep. Tr. at 151:3-10; 151:23-152:5; 153:25-154:6; 154:23-155:10). These admissions

further show that the allegations in the FAC are entirely disconnected from reality; they are not

reflective of Plaintiff’s—or any other consumer’s—actual purchasing experience.

               3.       Plaintiff Could Not Have Seen, Much Less Relied on, Alleged
                        Statements Published in Media He Admits He Never Viewed

       Finally, Plaintiff also testified that he had never even viewed various mediums in which

the FAC alleges that certain representations appeared. (Compl. ¶¶ 52, 55, 67):

               Q. Do you remember seeing any article in the January 2019 issue
               of Oprah Magazine that had anything to do with Snow?

               A. No.

               …

               Q. Do you have any recollection of ever having watched Home
               Shopping Network at any point in the last three years?

               A. I don’t watch it, no, sir.

               Q. Did you ever hear of a website called Truth in Advertising? I
               think it’s dot org, but let me confirm. Do you know anything about
               a website called Truth in Advertising.org?

               A. I know the phrase, truth in advertising, but not the website you
               are referencing, no.

(Kraus Dep. Tr. at 160:9-12; 161:3-18). Plaintiff plainly could not have relied on any of these

statements if he had never ever viewed (or heard of) the publishers of those statement.




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        Given that Plaintiff has never even seen the advertising and statements alleged in the

complaint they could not have plausibly been the cause of his supposed injury. There is simply

no connection—much less a “fairly traceable” one—between his alleged injury and any conduct

of the Defendants. See W.R. Huff Asset Mgmt. Co., LLC v. Deloitte & Touche LLP, 549 F.3d

100, at 106–07 (2d Cir. 2008); Brady, 101 F. Supp. 3d at 227, 229 (finding no “causation in the

form of a ‘fairly traceable’ connection between the asserted injury-in-fact and the alleged actions

of the defendant”). Because Plaintiff cannot prove that Defendants’ conduct caused him any

injury, this action should be dismissed.

        C.      Plaintiff Lacks Standing to Seek Injunctive Relief

        While none of Plaintiff’s claims is viable given his lack of standing as discussed above,

Plaintiff’s request for injunctive relief is separately infirm and is an independent reason for

dismissal of this relief under Article III. To establish standing to obtain prospective relief, a

plaintiff “must show a likelihood that he will be injured in the future” by demonstrating either a

“‘substantial risk’ that the future injury will occur,” or that “the threatened injury [is] ‘certainly

impending.’” Lugones v. Pete & Gerry’s Organic, LLC, 440 F. Supp. 3d 226, 238 (S.D.N.Y.

2020) (citations omitted). Allegations of “possible future injury” or “past exposure to illegal

conduct” are not sufficient. Id. Courts in the Second Circuit regularly hold that there is no

Article III standing to seek injunctive relief in a consumer-protection case when plaintiffs (who

are now fully aware of the alleged deception) cannot plead that they will buy the product in the

future, as no likelihood of future harm exists under such circumstances. See, e.g., id. at 239

(granting 12(b)(1) motion to dismiss claims for injunctive relief where a plaintiff failed to allege

that he intends to use the offending product in the future and there is no likelihood of future

harm); Quiroz v. Beaverton Foods, Inc., 2019 WL 1473088, at *2–4 (E.D.N.Y. Mar. 31, 2019)

(“Because Plaintiff has not alleged ‘any real or immediate threat that the plaintiff will be



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wronged again,’…the court finds that she has not established standing to seek injunctive relief

and her claim for injunctive relief under the GBL must be dismissed.”); Albert v. Blue Diamond

Growers, 151 F. Supp. 3d 412, 417 (S.D.N.Y. 2015) (“Since Plaintiffs have not alleged any

future injury, they do not have standing to seek injunctive relief on behalf of themselves or a

class.”); Morrison v. Barcel USA, LLC, 2019 WL 95477, at *2 (S.D.N.Y. Jan. 2, 2019), appeal

withdrawn, 2019 WL 1761714 (2d Cir. Mar. 5, 2019) (“[P]laintiff alleges she and the putative

class members ‘would not have purchased [the Product] at the given price had they known the

truth.’ Therefore, plaintiff cannot show a likelihood of future injury.”) (internal references

omitted); Young v. L’Oreal, Inc., 2021 WL 2295625, at *9 (S.D.N.Y. May 20, 2021), report and

recommendation adopted sub nom. Young v. L’Oreal USA, Inc., 2021 WL 2292341 (S.D.N.Y.

June 4, 2021) (granting dismissal under Rule 12(b)(1) Plaintiffs concede that they will not

purchase defendant’s product again, and, as such, they “do not have standing to pursue injunctive

relief.”); Alce v. Wise Foods, Inc., No. 17 CIV. 2402 (NRB), 2018 WL 1737750, at *6 (S.D.N.Y.

Mar. 27, 2018) (rejecting “fool me once, shame on you, fool me twice, shame on you” argument

as “meritless.”).

       Here, nothing in the FAC or Plaintiff’s testimony indicates that he would ever buy

Snow’s product again. In fact, quite the opposite—Plaintiff testified that the product did not

whiten his teeth to his satisfaction so he stopped using it:

               Q. …When you say, the use of the product, what product are you
               talking about?

               A. The Snow White Light product that we are talking about, teeth
               whitening product from Snow White, with the light that’s supposed
               to make your teeth white, that did not.

               Q. When you say, it did not work, what do you mean?

               A. I didn’t notice any difference in my teeth being whiter, that’s a
               teeth whitening product.



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(Kraus Dep. Tr. 35:25-36:14; see also id. at 78:2-7 (“[the product] didn’t do what it was

supposed to do”); id. at 142:3-21 (testifying that after three weeks “I saw no results, so I

discontinued the use.”). Given Plaintiff’s repeated testimony that the product did not work for

him, there is no likelihood of future harm because Plaintiff now knows that the product evidently

does not whiten his teeth to his liking, and no possible changes to Defendant’s alleged statements

(which he did not see prior to purchasing the product in any event) would cause him to buy the

product again. Plaintiff, therefore, cannot plausibly allege future injury that would entitle him to

injunctive relief, and this claim for relief should be dismissed.3 See Hidalgo v. Johnson &

Johnson Consumer Companies, Inc., 148 F. Supp. 3d 285, 295–96 (S.D.N.Y. 2015) (“As the

Complaint contains no allegations that Hidalgo intends to purchase the Bedtime Products again,

she has not plausibly alleged future injury from these products.”).

II.    PLAINTIFF CANNOT AMEND THE COMPLAINT

       Because Plaintiff lacks standing, he cannot amend his complaint, including by trying to

add parties. “The longstanding and clear rule is that if jurisdiction is lacking at the

commencement of a suit, it cannot be aided by the intervention of a plaintiff with a sufficient

claim.” Pressroom Unions–Printers League Income Sec. Fund v. Continental Assur. Co., 700

F.2d 889, 893 (2d Cir. 1983); see also MacGregor v. Milost Glob., Inc., 2019 WL 2453340, *8

(S.D.N.Y. Apr. 19, 2019), adopted 2019 WL 2723522 (S.D.N.Y. July 1, 2019) (“When subject

matter jurisdiction is wanting because the plaintiff presently named in the complaint lacks



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 Any attempt by Plaintiff to submit a self-serving affidavit that contradicts his sworn testimony,
discovery responses, or pleadings should be rejected. Fed. Deposit Ins. Corp. v. Murex LLC, 500
F. Supp. 3d 76, 94 (S.D.N.Y. 2020) (“[C]ourts in the Second Circuit are particularly reluctant to
credit affidavit testimony that alleges critical, obviously material facts that were not mentioned at
deposition, noting that such circumstances strongly suggest a sham affidavit.”) (citing Golden v.
Merrill Lynch & Co., 2007 WL 4299443, at *9 (S.D.N.Y. Dec. 6, 2007)).



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standing, a court cannot grant leave to amend under Rule 15 to add a plaintiff for purposes of

curing the jurisdictional defect.”). The case should therefore be dismissed with prejudice.4

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs’ claims against Defendants should be dismissed with

prejudice.



Dated: November 2, 2021
       New York, NY                                  Respectfully Submitted,

                                                      /s/ Douglas S. Curran
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  Plaintiff filed a motion for leave to amend on August 3, 2021 (DE 34), which was denied as
procedurally improper on August 17, 2021, (DE 42). That motion should be denied if
resubmitted to the Court, especially since the Court’s deadline for amendment has passed.


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                                CERTIFICATE OF SERVICE

       I, Douglas S. Curran, hereby certify that this document has been sent electronically to the
recipients at the email addresses listed below on November 2, 2021.

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                                                      /s/ Douglas S. Curran
